

Wilson v Christ Alive Christian Ctr. (2021 NY Slip Op 05315)





Wilson v Christ Alive Christian Ctr.


2021 NY Slip Op 05315


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Webber, J.P., Singh, Scarpulla, Mendez, Rodriguez, JJ. 


Index No. 303128/12 Appeal No. 14286 Case No. 2020-01303 

[*1]Rhona Wilson, Plaintiff-Appellant,
vChrist Alive Christian Center et al., Defendants-Respondents.


Heslop &amp; Dominique, LLP, Brooklyn (Garfield A. Heslop of counsel), for appellant.
Koster, Brady &amp; Nagler, New York (Jason J. Lavery of counsel), for respondents.



Order, Supreme Court, Bronx County (Howard H. Sherman, J.), entered on or about October 7, 2019, which granted defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
The motion court correctly found that this case involves a nonjusticiable controversy under the First Amendment (see Matter of Congregation Yetev Lev D'Satmar, Inc. v Kahana, 9 NY3d 282, 286 [2007]). While plaintiff contends that the $230,000 payment she made to defendants five years before the action was commenced should not be considered a tithe, the record shows that the payment was, in fact, a tithe, and that plaintiff made it voluntarily. Tellingly, the $230,000 check made out to defendant Christ Alive Christian Center stated "tithe" in the memo section. The issues of plaintiff's motivation for tithing, and the proper amount of the tithe necessarily implicate the interpretation of religious doctrine and cannot be resolved through the application of neutral principles of law (id.).
We have considered plaintiff's remaining arguments, to the extent preserved, and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








